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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

                                                  §
 IN RE:                                           §    CHAPTER 11 CASES
                                                  §
 ACIS CAPITAL MANAGEMENT, L.P.,                   §    CASE NO. 18-30264-sgj11
 ACIS CAPITAL MANAGEMENT GP, LLC,                 §    (Jointly Administered)
                                                  §
                                 Debtors.         §    Hearing Date: August 21, 2018
                                                  §    at 9:30 a.m.

        TRUSTEE’S RESPONSE TO LIMITED OBJECTION OF UNIVERSAL-
 INVESTMENT-LUXEMBOURG S.A. AND BAYVK R2 LUX S.A., SICA-FIS TO FIRST
   AMENDED JOINT PLAN FOR ACIS CAPITAL MANAGEMENT, L.P. AND ACIS
                   CAPITAL MANAGEMENT GP, LLC

        Robin Phelan (“Trustee”), the Chapter 11 Trustee for Acis Capital Management, LP and

Acis Capital Management GP, LLC (the “Debtors”), files this response to the Limited Objection

of Universal-Investment-Luxembourg S.A. (“Universal”) and Bayvk R2 Lux S.A., SICA-FIS

(“BayVK R2”) to First Amended Joint Plan for Acis Capital Management, L.P. and Acis Capital

Management GP, LLC (“ Objection”) [Docket No. 495].
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          1.      Acis Capital Management, LP (“Acis LP”) is party to an agreement with Universal

    dated February 27, 2015 and titled Agreement for the Outsourcing of the Asset Management of

    BayVK R2 Lux, S.A. (the “Universal Agreement”)1 under which Acis LP acts as a sub-advisor for

    certain Specialized Investment Funds2 and sub-funds managed by Universal, a Luxembourgian

    asset management company. Universal manages the Funds and the Sub-Funds but contracted

    with Acis LP to outsource the asset management of BayVK R2, a Sub-Fund, to Acis LP.

          2.      Universal pays Acis LP a fee for asset management under the Universal Agreement,

    and the Trustee believes these management fees are a valuable interest of Acis LP. Accordingly,

    the Trustee seeks to assume and assign the Universal Agreement under Plan and to assume it

    under Plans B and C.

          3.      The Universal Agreement permits Acis LP to contract with third parties to provide

    sub-advisory services for BayVK R2. Indeed, Acis LP engaged Highland to provide those sub-

    advisory services based on the Universal Agreement. Pursuant to the Oaktree Order and the

    Brigade Order, the Trustee is no longer using Highland in that role.

          4.      Universal claims that changing the sub-advisor to Oaktree under Plan A (and a

    provided in the Oaktree Order) or to Brigade (with the assistance of Cortland) under Plan B (and

    as provided in the Brigade Order), violates the Universal Agreement and the Luxembourgian Law

    of 2007.3

          5.      Universal contends that the Trustee cannot assume or assign the Universal

    Agreement because (a) Acis LP is in material, incurable non-monetary breach of the Universal

    Agreement—because Acis LP did not get Universal’s consent before removing Highland as the


1
  A copy of the Universal Agreement included with the Universal Objection is attached as Exhibit A.
2
  Capitalized terms not defined herein shall have the same meaning as they are given in the Universal Objection
3
  A copy of an English translation of the Law of 2007 obtained from the internet site given in the Universal
Objection is attached as Exhibit B.
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 sub-servicer and replacing them with Brigade; and (b) the Law of 2007 excuses Universal from

 accepting performance from someone other than Acis LP with Highland as a sub-servicer.

        6.     The Trustee disagrees with Universal’s contention that Acis LP committed an

 incurable, non-monetary breach of the Universal Agreement. The Universal Agreement provides,

 in part:


        When fulfilling its obligations hereunder, the Asset Manager [Acis LP] may
        contract the services of third parties if and to the extent that this is permitted under
        applicable law, particularly in accordance with the Law of 2007. Principally, the
        Asset Manager is entitled to sub-delegate portions of its asset management function
        to an affiliate of the Asset Manager…. For the avoidance of doubt, the Management
        Company’s [Universal’s] prior consent must be obtained for the sub-delegation of
        assets management services, which will not be unreasonably withheld.

Universal Agreement, Exhibit A, at page 4, Section 2, no. 6 (emphasis added).

        7.     Both Oaktree and Brigade currently provide services to Luxembourgian companies

 and funds subject to the Law of 2007 and CSSF oversite. And Universal has provided no basis

 for withholding its consent under the Universal Agreement. The Trustee contends that consent

 has been unreasonably withheld.

        8.     Moreover, Universal says it was not consulted about the Trustee replacing Highland

 as the sub-servicer, but it received notice of the Oaktree Motion and the Brigade Motion and did

 not object. That can be construed as consent.

        9.     The Law of 2007 does not excuse Universal from accepting performance from an

 assignee. Law of 2007 says at Article 42(5) that “The replacement of the management company

 or depositary and any amendment to the constitutive documents of the specialised investment

 fund are subject to approval by the CSSF.” (emphasis added). It also provides at Article

 42b(5)(g) that directors of a Specialized Investment Fund can “withdraw the mandate” of a

 delegee of certain functions “to protect the interests of investors.” It does not say that the CSSF’s
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    prior approval a sub-advisor is required to comply with the Law of 2007 or that Universal is

    excused from accepting performance from an assignee.

          10.     Section 365(c)(1) of the Bankruptcy Code does not prohibit the Trustee from

    assuming and assigning the Universal Agreement. Section 365(c)(1) of the Bankruptcy Code

    provides:

          The trustee may not assume or assign any executory contract . . . if . . . applicable
          law excuses a party, other than the debtor, to such contract . . . from accepting
          performance or rendering performance to an entity other than the debtor or debtor
          in possession, whether or not such contract . . . prohibits or restricts assignment of
          rights; and . . . such party does not consent to such assumption or assignment[.]

11 U.S.C. § 365(c)(1).

          11.     Sections 365(a) and (f) generally allow assumption and assignment of executory

    contracts, but section 365(c)(1) limits those rights where an applicable law excuses performance.

    Cajun Elec. Members Comm. v. Mabey (In re Cajun Elec. Power Coop., Inc.), 230 B.R. 693, 706

    (5th Cir. 1999).

          12.     First, the Trustee questions whether the Law of 2007 is an applicable law within

    the meaning of section 365(c)(1).4 Second, the Law of 2007 does not do what Universal contends.




4
  Prior to the Supreme Court’s decision in Patterson v. Shumate, there was a question whether “applicable
nonbankruptcy law” under § 541(c)(2) was exclusively state law. See Patterson v. Shumate, 504 U.S. 753, 757-59
(1992). In Patterson, the Court held that applicable nonbankruptcy law included federal ERISA law. Id. at 759. While
the Supreme Court in Patterson extended the scope of “applicable nonbankruptcy law” under § 541(c)(2) to include
federal law, the Court did not explicitly extend its reach to laws of foreign jurisdiction, or Isle of Man law. See id. at
758; see also Traina v. Sewell (In re Sewell), 180 F.3d 707, 711-12 (5th Cir. 1999) (“‘[U]nder applicable
nonbankruptcy law’ is not limited to enforceability under state law; it suffices that such a restriction in an ‘ERISA-
qualified pension plan’ be enforceable under some federal law other than bankruptcy law[.]”). Moreover, at least one
court has found that the trust law of a foreign jurisdiction does not apply under § 541(c)(2) if it offends policies
underlying U.S. law. See Marine Midland Bank v. Portnoy (In re Portnoy), 201 B.R. 685, 701 (Bankr. S.D.N.Y.
1996) (holding that § 541(c)(2) was not applicable, and New York law applied in determining whether the debtor
retained his property interest in offshore trust assets and whether debtor was entitled to a discharge); cf. Green v.
Zukerkorn (In re Zukerkorn), 484 B.R. 182, 197 (B.A.P. 9th Cir. 2012) (Johnson, J., dissenting) (deciding whether
Hawaii or California law was applicable when the trust was established in Hawaii and the debtor filed chapter 7 in
California; and noting in dissent that courts will “typically refrain from applying the trust law of a foreign jurisdiction
selected by the settlor of a trust if doing so would harm creditors or other third parties”).
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 It does not excuse performance, it simply requires that CSSF be informed of and approve of

 entities that manage funds subject to the Law of 2007 and CSSF monitoring. See, Law of 2007,

 Exhibit B, Articles 42(4), 42(5), 42a(1), and 42b.

       13.     The Universal Objection should be overruled and the Court should permit the

 Trustee to assume and/or assign the Universal Agreement.

       WHEREFORE, the Trustee prays that the Court overrule the Universal Objection, permit

the Trustee to assume and/or assign the Universal Agreement, and grant such other and further

relief to which he may be justly entitled.

Date: August 17, 2018.

                                                      Respectfully submitted,

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                              CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served upon
the parties requesting ECF electronic notice and via email on the parties listed below on August
17, 2018.

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